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                   19                              UNITED STATES DISTRICT COURT

                   20                           NORTHERN DISTRICT OF CALIFORNIA

                   21                                   SAN FRANCISCO DIVISION

                   22   RICHARD KADREY, et al.,                        Case No. 3:23-cv-03417-VC-TSH

                   23      Individual and Representative Plaintiffs,   JOINT ADMINISTRATIVE MOTION TO FILE
                                                                       UNDER SEAL JOINT DISCOVERY LETTER
                   24          v.                                      BRIEF AND EXHIBITS

                   25   META PLATFORMS, INC., a Delaware
                        corporation;
                   26
                                                        Defendant.
                   27

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                                                                                          ADMIN. MOTION TO SEAL
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                    1          Pursuant to Civil Local Rule 79-5(c) and 79-5(d), Plaintiffs Richard Kadrey, Sarah

                    2   Silverman, Christopher Golden, Ta-Nehisi Coates, Junot Diaz, Andrew Sean Greer, David Henry

                    3   Hwang, Matthew Klam, Laura Lippman, Rachel Louise Snyder, Jacqueline Woodson, and Lysa

                    4   TerKeurst (collectively, “Plaintiffs”) and Defendant Meta Platforms, Inc. (“Meta”) (collectively,

                    5   the “Parties”) hereby jointly move this Court for an Order allowing the partes to file under seal

                    6   confidential, unredacted versions of certain documents relating to the Parties’ Joint Letter Brief on

                    7   Meta’s Motion for a Protective Order re: Plaintiff’s Request to Depose Mark Zuckerberg (“Joint

                    8   Letter Brief”). The Parties respectfully submit that compelling reasons exist for the filing of these

                    9   documents under seal.     The motion is based on the following Memorandum of Points and

                   10   Authorities and the Declarations of Nikki Vo in support of this Joint Administrative Motion to File

                   11   Under Seal.

                   12          The following chart lists the documents for which the Parties request sealing – in whole or

                   13   in part – in order to protect Meta’s confidential business information.

                   14
                         Document                                       Sealing Request
                   15
                         Joint Discovery Letter Brief                           Redacted portions
                   16
                         Exhibit E to Joint Discovery Letter Brief              Entire document
                   17
                         Exhibit F to Joint Discovery Letter Brief              Entire document
                   18
                         Exhibit G to Joint Discovery Letter Brief              Entire document
                   19
                         Exhibit H to Joint Discovery Letter Brief              Entire document
                   20

                   21
                         Exhibit I to Joint Discovery Letter Brief              Entire document

                   22
                         Exhibit J to Joint Discovery Letter                    Entire document

                   23    Exhibit K to Joint Discovery Letter                    Entire document

                   24    Exhibit L to Joint Discovery Letter                    Entire document

                   25    Exhibit M to Joint Discovery Letter                    Entire document

                   26    Exhibit N to Joint Discovery Letter                    Entire document

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                    1   A [Proposed] Order is filed concurrently herewith, and the Parties refer the Court to the Joint Letter

                    2   itself and the supporting evidence attached thereto as further support for this Joint Administrative

                    3   Motion.

                    4   I.      LEGAL ARGUMENT
                                Though the presumption of public access to judicial proceedings and records is strong, it
                    5
                        “is not absolute.” Nixon v. Warner Commc’ns. Inc., 435 U.S. 589, 598 (19787). The Ninth Circuit
                    6
                        treats documents “attached to dispositive motions differently from records [i.e., documents]
                    7
                        attached to non-dispositive motions.” Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1180
                    8
                        (9th Cir. 2006); Ctr. for Auto Safety v. Chrysler Grp., 809 F.3d 1092, 1098 (9th Cir. 2016). For
                    9
                        non-dispositive motions, such as the Parties’ Joint Letter Brief, the “good cause” standard applies.
                   10
                        OpenTV v. Apple, No. 14-cv-01622-HSG, 2015 WL 5714851, at *2 (N.D. Cal. Sept. 17, 2015);
                   11
                        Kamakana, 447 F.3d at 1180 (“A ‘good cause’ showing will suffice to seal documents produced in
                   12
                        discovery.”). The Federal Rules afford district courts “flexibility in balancing and protecting the
                   13
                        interests of private parties.” Kamakana, 447 F.3d at 1180; DSS Tech. Mgmt. v. Apple, No. 14-cv-
                   14
                        05330-HSG, 2020 WL 210318, at *8 (N.D. Cal. Jan. 14, 2020), aff’d, 845 F. App’x 963
                   15
                        (Fed. Cir. 2021) (finding good cause to seal “confidential business and proprietary information”).
                   16
                                The portions of the Joint Letter Brief and Exhibits E–N, attached thereto, contain Meta’s
                   17
                        confidential information, for which Meta requests sealing. Exhibits E–N, are internal Meta
                   18
                        documents and communications concerning matters including budget allocations, high-level
                   19
                        business strategy, plans for growth and monetization, and detailed technical discussion concerning
                   20
                        Meta’s AI development. Meta must request sealing of these materials, as this information is highly
                   21
                        confidential, and Meta takes steps to carefully protect the confidentiality of information of this sort
                   22
                        as disclosure has the potential to cause significant competitive injury to Meta. See, e.g., Krieger v.
                   23
                        Atheros Commc’ns, Inc., No. 11-CV-640-LHK, 2011 WL 2550831, at *1 (N.D. Cal. Jun. 25, 2011)
                   24
                        (finding information regarding party’s “long-term financial projections, discussions of business
                   25
                        strategy, and competitive analyses” sealable); Space Data Corp. v. Alphabet Inc., No. 16-CV-
                   26
                        03260-BLF, 2019 WL 285799, at *1 (N.D. Cal. Jan. 22, 2019) (finding information regarding
                   27
                        party’s confidential and proprietary technical information, and sensitive financial information
                   28
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                    1   sealable). The portions of the Joint Letter Brief that the Parties seek to redact quote from or describe

                    2   the contents of Exhibits E–N. These sealing requests are critical to protect Meta’s confidential

                    3   sensitive technical and competitive information.

                    4            The specific basis for sealing these materials is outlined in the accompanying declaration

                    5   of Meta’s Director and Associate General Counsel, Nikki K. Vo. As outlined in Ms. Vo’s

                    6   declaration, disclosure of the protected information contained in the materials the Parties seek to

                    7   seal would work competitive harm to Meta if this information is publicly disclosed. The Parties’

                    8   sealing requests and proposed redactions are narrowly tailored to include only that information

                    9   which would cause specific, articulable harm, as identified in Ms. Vo’s declaration. In each

                   10   instance, the harm to Meta outweighs the public’s interest in disclosure. See, e.g., In re iPhone

                   11   App. Litig., No. 11-md-02250-LHK, 2013 WL 12335013, at *2 (N.D. Cal. Nov. 25, 2013) (granting

                   12   motion to seal where the defendant’s interest in “maintaining the confidentiality of information

                   13   about its technology and internal business operations” outweighed that of the public in accessing

                   14   such documents).

                   15   II.      CONCLUSION
                   16            Pursuant to Civil Local Rule 79-5, redacted and unredacted versions of the above-listed

                   17   documents accompany this Administrative Motion. For the foregoing reasons, the Parties

                   18   respectfully request that the Court grant their Joint Administrative Motion to Seal.

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                    1   Dated: September 20, 2024                    COOLEY LLP

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                    3                                            By: /s/ Kathleen Hartnett
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                    2                      ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)

                    3               I hereby attest that I obtained concurrence in the filing of this document from each of the

                    4   other signatories. I declare under penalty of perjury that the foregoing is true and correct.

                    5
                         Dated: September 20, 2024
                    6                                                            COOLEY LLP

                    7                                                            /s/ Kathleen Hartnett

                    8                                                            Attorneys for Defendant
                                                                                 Meta Platforms, Inc.
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